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From: Kenneth Timmerman <Uimmerman road@verizon.net:
Sent: Wednesday, August 27, 2008 7:59 PM {GMT}
To: Hassan Dai <hassan dai@yahoo com>

Subject: Re: Nemazee

Hassan:
You're right that Trita is the weak link. But there's no Trita link to Biden

or to Obama, whereas there js a Hassan Nemazee link.

Right now all i've been able to do is Suggest that Nemazee is part of the
network. But that's not terribly exciting, if you see what ! mean. He IS the

big fish here, but as of now we have nothing to hang him with.

As for your second item, | can always put you in touch with people at the
Washington Times. The problem, though, is that your friends have got to have
something newsworthy to Say. | doubt that any print publication would

publish their entire Statement, except as a paid advertisement.

{can undoubtedly work in a quote or two in a story | might do about

Ahmadinejad's trip. Do you know the dates yet?

 
 

 

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Best,

Ken

On 8/27/08 1:37 PM, “Hassan Dai" <hassan.dai@yahoo.com> wrote:

> Ken,

> You are right. Namazee is a part of a web. The best way -to attack this web is

> to bring down the weakest part of it Trita Parsi.

> If we succeed, the whole network will be questioned and at lease paralyzed for

> a while. There is no need to go directly after Hassan Namazee.

> Ken,

> | told you about a group of Iranian Americans. They are ready to go public and

> their first declaration will be about Ahmadinejad's trip to New York. Once you

> told that you know some people in Washington Times. is there a way to approach
> them for publishing their first statement?

> Thanks

> —- On Wed, 8/27/08, Kenneth Timmerman <timmerman.road@verizon.net> wrote:
>

>> From: Kenneth Timmerman <timmerman.road@verizon.net>

>> Subject Nemazee

>> To: “Hassan Dai" <hassan dai@yahoo.com>

>> Date: Wednesday, August 27, 2008, 7:44 AM

>> Hassan,

fy tL wt.
 

 

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>>
>> The missing link that we MUST fill in is between hassan

>> Nemazee and the

>> regime.

>>

>> He has insisted vigorously that he has NO.ties to the

>> regime and has not

>> been lobbying on their behalf.

>> He has also said that he joined the AIC board at the urging
>> of Louis Noto

>> head of Mobil and resigned 18 months later when he

>> realized how

>> politically sensitive it was.

>>

>> Remember that he sued Aryo Pirouznia and the SMCCD in 2006
>> for alleging that

>> he had ties to the regime, and that he has very deep

>> pockets.

>>

>> Here is a case where, if you're going to attack the King,
>> make sure you kill

>> him. You've got to have hard evidence. Otherwise, he's
>> just an

>> franian-American who's made it big, and is playing

>> politics with the big

>> boys. And it's not a story.

seas
 

 

 

>>

>> So far no luck with the attorneys, but I’m making more
>> calls today.

>>

>> Best,

>> Ken

>>

>> Kenneth R. Timmerman

>> President, Middle East Data Project, Inc.

>> Author: Countdown to Crisis: The Coming Nuclear Showdown
>> with fran

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